Case 1:23-cr-00118-AT Document 146-5 Filed 09/21/23 Page 1 of 23




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Case 22-50073
      Case 1:23-cr-00118-AT
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                                                                    of 23 1 of 19




                    UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF CONNECTICUT
____________________________________
IN RE:                               )
                                     )  CASE No.     22-50073 (JAM)
HO WAN KWOK,                        )
                                     )  CHAPTER     11
       DEBTOR.                       )
____________________________________)   RE: ECF No. 183

                                         APPEARANCES1

    Jeffrey L. Jonas                              Holley L. Claiborn
    Brown Rudnick LLP                             Office of the United States Trustee
    Seven Times Square                            150 Court Street, Room 302
    New York, NY 10036                            New Haven, CT 06510
    Attorney for the Debtor                       Attorney for the United States Trustee

    Peter Friedman                                Irve J. Goldman
    O’Melveny & Myers LLP                         Pullman & Comley
    1625 Eye Street NW                            850 Main Street, 8th Floor
    Washington, DC 20006                          Bridgeport, CT 06604
    Attorney for Pacific Alliance Asia            Attorney for the Official Committee of
    Opportunity Fund, L.P.                        Unsecured Creditors

    Carollynn Callari
    Callari Partners, LLC
    One Rockefeller Plaza, 10th Floor
    New York, New York 10020
    Attorney for Creditors Rui Ma, Weican Meng,
    and Zheng Wu

               MEMORANDUM OF DECISION AND ORDER DENYING
            MOTION TO DISMISS WITHOUT PREJUDICE AND GRANTING
         JOINDER TO MOTION FOR APPOINTMENT OF CHAPTER 11 TRUSTEE

I.        Introduction

          On February 15, 2022, Ho Wan Kwok (the “Debtor”), filed a voluntary Chapter 11

petition commencing this case. Although the Debtor’s case has been pending for only four



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 William R. Baldiga and Bennett S. Silverberg for the Debtor, Laura Aronsson and Patrick M.
Birney for PAX, and Kristin Mayhew for Creditors Ma, Meng, and Wu also appeared at the
hearing on the Motion to Dismiss.
Case 22-50073
      Case 1:23-cr-00118-AT
               Doc 465 FiledDocument
                             06/15/22 146-5
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                                                   09/21/23
                                                         15:13:54
                                                             Page 3 Page
                                                                    of 23 2 of 19




months, numerous motions and applications have been filed by the Debtor, the Office of the

United States Trustee, creditors, and entities or individuals related to the Debtor. Several

extensive hearings have been held, including the most recent evidentiary hearing on a motion to

dismiss the Debtor’s case or appoint a Chapter 11 trustee.

        The issues raised by the parties in the voluminous pleadings, and the information and

evidence presented during hearings held in this case, confirm that the Debtor’s case is unusual,

complicated, and often contentious. Based on the specific facts and circumstances of this case,

including the review of the record, the evidence presented by the parties, and the complex factual

and legal issues that have been brought before the Court, pursuant to 11 U.S.C. § 1112(b), the

Court finds that it is in the best interests of creditors and the estate not to dismiss or convert the

Debtor’s case at this time and to instead appoint a Chapter 11 trustee.2

II.     Jurisdiction

        This Court has jurisdiction over this motion pursuant to 28 U.S.C. §§ 157 and 1334. This

is a core proceeding pursuant to 28 U.S.C. § 157(b). This Court has the authority to hear this

matter pursuant to the General Order of Reference entered on September 21, 1984 by the United

States District Court for the District of Connecticut.

III.    History of Proceedings

        It is essential to examine the events that have occurred in the Debtor’s case to determine

whether dismissal, conversion, or the appointment of a Chapter 11 trustee is in the best interests




2
  Section 1112(b)(3) requires the Court to rule on a Motion to Dismiss within 15 days after
commencement of the hearing. During a June 9, 2022, status conference to address corrections
to the official transcript of the hearing on the Motion to Dismiss, the Court informed the parties
that a ruling on the Motion to Dismiss would likely be issued more than 15 days after the hearing
for several reasons, including the complexity of the Debtor’s case and numerous hearings
scheduled to be held in other cases during the 15-day period.
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Case 22-50073
      Case 1:23-cr-00118-AT
               Doc 465 FiledDocument
                             06/15/22 146-5
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                                                   09/21/23
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                                                             Page 4 Page
                                                                    of 23 3 of 19




of creditors and the estate. At the core of the Debtor’s case is a luxury yacht known as the “Lady

May,” allegedly purchased for €41,000,000.00, and other assets that may belong to the Debtor

including an apartment in the Sherry-Netherlands Hotel in Manhattan allegedly purchased for

approximately $70,000,000.00 in 2015. When viewed as a whole, the circumstances

surrounding the Debtor’s case demonstrate why the appointment of a Chapter 11 trustee, as

opposed to dismissal or conversion of the Debtor’s case, is in the best interests of creditors and

the estate.

              The Debtor’s Motion to Extend Time to File Schedules and Statements

        As noted above, the Debtor commenced this case on February 15, 2022, by filing a

voluntary Chapter 11 petition. The Debtor filed the list of the twenty largest unsecured creditors

with the petition and identified Pacific Alliance Asia Opportunity Fund L.P. (“PAX”) as the

Debtor’s largest creditor with a debt of approximately $254,000,000.00. ECF No. 4 at p. 1.

        The Debtor did not file the Schedules or the Statement of Financial Affairs with his

petition, but did timely file a Motion to Extend Deadline to File Schedules or Provide Required

Information to May 2, 2022 (the “Motion to Extend Time to File Schedules and Statements,”

ECF No. 27). In support of the requested extension of time, the Debtor states that his

‘background is admittedly extraordinary” and additional time would allow him to retain

professionals necessary to assist with the preparation and filing of the Schedules and Statements

and to secure the financing to administer his Chapter 11 case. ECF No. 27 at p. 2.

        On February 28, 2022, the Office of the United States Trustee (the “UST”) and PAX filed

strenuous objections to the Motion to Extend Time to File Schedules and Statements. In the

objections, both the UST and PAX assert the Debtor’s case was filed in direct response to a

$134,000,000.00 contempt order entered against the Debtor arising out of his involvement in



                                                 3
Case 22-50073
      Case 1:23-cr-00118-AT
               Doc 465 FiledDocument
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                                                   09/21/23
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                                                             Page 5 Page
                                                                    of 23 4 of 19




secreting the Lady May out of New York to protect it from being seized. PAX’s objection also

asserts that the Debtor has flouted the New York state court orders and abused the judicial

process in an attempt to evade enforcement of the $116,000,000.00 judgment PAX won against

him. PAX notes that the New York state court found “Kwok, who is a self-declared multi-

billionaire, had secreted his assets in a maze of corporate entities and with family members,” and

as a result of his elaborate schemes to avoid his creditors, the New York Supreme Court docket

contains over 1,180 entries, “almost all of which involve . . . [Kwok’s] efforts to avoid and

deceive his creditors by parking his substantial personal assets with a series of corporations,

trusted confidants, and family members.” PAX Objection, ECF No. 50 at p. 2. Furthermore,

PAX asserts that there are at least three materially false and/or misleading statements in the

Debtor’s petition, including his sworn (mis)representation that he has less than $100,000.00 in

assets which is completely incompatible with the New York state court’s finding just days before

that Kwok “holds a beneficial interest in and controls the Lady May.” Id.

                                 PAX’s Automatic Stay Motion

       On March 1, 2022, just two weeks after the Debtor’s case was filed, PAX filed a Motion

for Entry of Order Confirming Inapplicability of the Automatic Stay or, in the alternative, Relief

from the Automatic Stay (the “Automatic Stay Motion,” ECF No. 57). The Automatic Stay

Motion sets forth extensive, detailed, and serious allegations against the Debtor. PAX argues

that the automatic stay did not apply in this case due to the imposition of sanctions entered

against the Debtor in the pre-petition New York state court action. PAX states that the court’s

sanctions held the Debtor in civil contempt for failure to return the Lady May to New York in

violation of its orders. The Debtor filed an Objection to the Automatic Stay Motion, in which

the Debtor does not dispute the imposition of the sanctions, but instead argues that he does not



                                                 4
Case 22-50073
      Case 1:23-cr-00118-AT
               Doc 465 FiledDocument
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                                                   09/21/23
                                                         15:13:54
                                                             Page 6 Page
                                                                    of 23 5 of 19




own or control the Lady May. Debtor’s Objection to Automatic Stay Motion, ECF No. 83 at p.

7.

                  The Debtor’s Schedules and Statement of Financial Affairs

       On March 9, 2022, the Debtor filed his Statement of Financial Affairs, ECF No. 77, and

Schedules, ECF No. 78. The Debtor asserts in the Schedules and Statement of Financial Affairs

that he owns assets valued at $3,850.00 and lists liabilities in the amount of $373,803,498.09. In

global notes that limit and disclaim the Debtor’s declarations made under penalty of perjury in

the Statement of Financial Affairs, the Debtor further asserts he: (i) has the use and occupancy

of, but not title to, real property in Greenwich, Connecticut owned by a limited liability company

wholly owned by his wife; (ii) wholly owns the membership interests in another limited liability

company that holds all of the cooperative shares in an apartment in the Sherry-Netherlands Hotel

in Manhattan in trust for a separate limited liability company owned by his son, Qiang Guo; and

(iii) had access to the use of the Lady May owned by HK International Funds Investments (USA)

Limited (“HK”), a limited liability company owned by his daughter, Mei Guo. ECF No. 77 at p.

4-5.

                     The UST Motion for Examiner or Chapter 11 Trustee

       On March 18, 2022, less than two weeks after the Debtor filed his Schedules and

Statement of Financial Affairs, the UST filed a Motion for Order Directing the Appointment of

an Examiner, or in the alternative, Motion for Order Directing the Appointment of a Chapter 11

Trustee (the “UST Motion for Examiner or Chapter 11 Trustee,” ECF No. 102). The UST

argues that it is in the best interests of creditors and the estate to appoint an examiner or a trustee

because the Debtor, a public figure and a self-proclaimed billionaire living in exile from his

native China, claims that he has no regular income and virtually no assets yet seemingly has



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Case 22-50073
      Case 1:23-cr-00118-AT
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                                                   09/21/23
                                                         15:13:54
                                                             Page 7 Page
                                                                    of 23 6 of 19




access to significant funds, including the ability to procure a $1,000,000.00 retainer for his

counsel in this case. The UST notes its concerns about the “odd combination of what appears to

be artificial self-created ‘poverty’ by the Debtor to insulate himself from creditors” and the

Debtor’s filing of this case to “obtain protection from creditors owed millions.” ECF No. 102 at

p. 2. Furthermore, the UST states that its concerns are validated by: (i) “the Debtor’s

marginalization of his schedules and statement of financial affairs to the point of being

meaningless;” (ii) the Debtor “brazenly disclaims any responsibility or liability for any of the

information in the bankruptcy documents pursuant to self-serving, anti-fiduciary language in the

‘Global Notes;’” and (iii) “the Debtor’s inability and/or unwillingness to recognize and accept

his obligations to provide full, complete and accurate information, to fulfill fiduciary obligations

to his estate and his creditors, and to meet his obligations as a debtor in possession.” Id.

        The Notice of Appointment of the Committee of Unsecured Creditors

       On March 21, 2022, three days after the UST filed the Motion for Examiner or Chapter

11 Trustee, the UST filed a Notice of Appointment of Creditor Committee in this case (ECF No.

108). The members of the Official Committee of Unsecured Creditors (the “Committee”), who

are among the largest unsecured creditors of the Debtor and have indicated a willingness to serve

on the Committee, are the following creditors: (i) Rui Ma, (ii) Ning Ye, and (iii) Samuel Dan

Nunberg.

                                   The DIP Financing Motion

       On March 22, 2022, one day after the appointment of the Committee, the Debtor filed a

Motion for Entry of Interim and Final Debtor in Possession Financing Orders (the “DIP Motion,”

ECF No. 117). In the DIP Motion, the Debtor seeks approval of a loan in the amount of

$8,000,000.00 to be made to the estate on an unsecured basis, subordinated to the claims of the



                                                  6
Case 22-50073
      Case 1:23-cr-00118-AT
               Doc 465 FiledDocument
                             06/15/22 146-5
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                                                06/15/22
                                                   09/21/23
                                                         15:13:54
                                                             Page 8 Page
                                                                    of 23 7 of 19




Debtor’s pre-petition creditors, without any administrative or priority repayment rights. The loan

would be available to pay the estate’s professionals and would be repaid if, and only if, all

allowed claims of the Debtor’s creditors are paid in full or otherwise satisfied pursuant to the

terms of a plan. The proposed lender, Golden Spring (New York) Ltd. (the “DIP Lender”), is an

entity owned and controlled by the Debtor’s son, Qiang Guo.

        The DIP Motion asserts that the Debtor filed his Chapter 11 case to: (a) create a single

forum to orderly address the various competing claims asserted against him; (b) afford

stakeholders an efficient opportunity to investigate his assets, liabilities, and financial affairs; (c)

establish what assets are estate property and, in turn, available for distribution to holders of

allowed claims; and (d) reach consensus with his creditors on a fair and equitable resolution of

claims and distribution of assets pursuant to a Chapter 11 plan. DIP Motion, ECF No. 117 at p.

5.

                              PAX’s Motion to Dismiss and Joinder

        On April 6, 2022, approximately three weeks after the UST’s Motion for Appointment of

Examiner or Chapter 11 Trustee and DIP Motion were filed, PAX filed a Motion to Dismiss or,

in the alternative, Partial Joinder to the USTs Motion for the Appointment of a Chapter 11

Trustee (the “Motion to Dismiss or Joinder,” ECF No. 183). In support of the Motion to

Dismiss or Joinder, PAX argues that the filing of the Debtor’s case “is the latest, most strident

gambit” of the Debtor to “delay, deceive, and defraud his creditors, and to continue to evade

legitimate court orders” and that the Debtor’s ”modus operandi is to park, shield and secrete his

assets through family members and shell companies to protect his fortune and to avoid repaying

his debt to PAX.” ECF No. 183 at p. 7. The Debtor, PAX argues, has “secreted his assets in a

maze of corporate entities and with family members.” Id. at p. 7-8.



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Case 22-50073
      Case 1:23-cr-00118-AT
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                                                                    of 23 8 of 19




       Along with the Motion to Dismiss or Joinder, PAX filed a Motion to schedule status on

the Motion to Dismiss or Joinder. The Court granted PAX’s motion in part and scheduled a

Status Conference on the Motion to Dismiss or Joinder to be held on April 13, 2022, the same

date of a hearing on several other matters in the case, including the continued hearing on the

Automatic Stay Motion and the initial hearing on the Motion for Appointment of Examiner or

Chapter 11 Trustee and the DIP Motion.

                                 The Debtor’s Chapter 11 Plan

       On April 10, 2022, the Debtor filed a proposed Chapter 11 Plan of Reorganization (the

“Plan,” ECF No. 197). Among other things, the Plan provides for the creation of a “Creditor

Trust” for the benefit of all creditors with allowed claims. ECF No. 197 at p. 20-24. The Plan

further provides that title to the Lady May will be transferred to the Creditor Trust for the benefit

of all creditors with allowed claims. ECF No. 197 at p. 21.

                    HK’s Statement regarding the Automatic Stay Motion

       On April 11, 2022, the day after the Debtor filed the Plan, HK (which as noted above is a

limited liability company owned by the Debtor’s daughter) filed a Statement regarding the

Automatic Stay Motion (the “Statement,” ECF No. 203). In the Statement, HK asserts that it is

the registered agent of the Lady May and that it consents to the entry of a proposed order

compelling it to transport and deliver the Lady May to the navigable waters of Connecticut under

certain conditions. HK further asserts that it provided a copy of the Proposed Order to counsel

for PAX, the Debtor, the UST, and the Committee for their respective comments and that entry

of the proposed order compelling HK to return the Lady May to Connecticut would “moot” the

Automatic Stay Motion. Statement at p. 2.




                                                  8
Case 22-50073
      Case 1:23-cr-00118-AT
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                                                    09/21/23
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                                                                      of 23 9 of 19




                                   The April 13, 2022 hearing

        Several matters were scheduled to be heard on April 13, 2022, including the continued

hearing on the Automatic Stay Motion and the initial hearing on the DIP Motion and the UST

Motion for Examiner or Chapter 11 Trustee. At the conclusion of the lengthy hearing, the Court

again continued the hearing on PAX’s Automatic Stay Motion, continued the hearing on the

UST Motion for Examiner or Chapter 11 Trustee, and scheduled an evidentiary hearing on the

DIP Motion and the Debtor’s Application to Employ Financial Advisor to be held on April 27,

2022.

     April 27, 2022 evidentiary hearing, the resolution of the Automatic Stay Motion,
     and the scheduling of an evidentiary hearing on the Motion to Dismiss or Joinder

        The Debtor, PAX, the UST, the Committee, the creditors Rui Ma and Zheng Wu, Golden

Spring, and HK appeared at the April 27th evidentiary hearing. At the start of the hearing,

counsel for the Debtor reported to the Court that the parties had resolved the Automatic Stay

Motion. The predominant terms of the resolution were that $37,000,000.00 would be posted by

HK and held in escrow pending the return of the Lady May to the navigable waters of

Connecticut. The parties agreed that a resolution of the Automatic Stay Motion had been

reached subject to the review of and revisions to a stipulated order that would be submitted to the

Court. Counsel for HK was then excused from the hearing to continue revisions to the draft of a

stipulated order. The Court noted on the record, and ultimately on the docket, that the Automatic

Stay Motion was resolved by agreement of the parties subject to an agreed upon order to be

submitted to the Court on or before May 2, 2022.

        Testimony, evidence, and arguments were also presented regarding the Debtor’s Motion

to Retain a Financial Advisor and the DIP Motion. At the conclusion of the evidentiary hearing,

the Court took the Debtor’s Motion to Retain a Financial Advisor under advisement and


                                                 9
Case 22-50073
      Case 1:23-cr-00118-AT
               Doc 465 FiledDocument
                             06/15/22 146-5
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                                                   09/21/23
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                                                                     of 2310 of 19




continued the hearing on the DIP Motion to May 4, 2022. In addition, the provisions of a

scheduling order regarding an evidentiary hearing on the Motion to Dismiss or Joinder were

agreed to by the parties on the record. On April 28, 2022, the Court entered a Scheduling Order

Regarding the Motion to Dismiss scheduling the evidentiary hearing for May 24, 2022.

                        The Stipulated Order regarding the Lady May

           On April 29, 2022, the Court entered the Stipulated Order Compelling HK

 International Funds Investments (USA) Limited, LLC to Transport and Deliver that Certain

 Yacht, the “Lady May,” which was executed by and among HK, PAX, the Debtor, the

 Committee, and the creditors Rui Ma and Zheng Wu (the “Stipulated Order,” ECF No. 299).

 Among other things, the Stipulated Order provides: (i) HK has deposited $37,000,000.00 into

 escrow; (ii) HK will deliver the Lady May to the navigable waters of Connecticut on or before

 July 15, 2022; and (iii) the captain of the Lady May and the purported yacht management

 company will submit a declaration that each shall be subject to the jurisdiction of this Court and

 are bound by the provisions of the Stipulated Order, including that they are restrained from

 removing the Lady May from the navigable waters of Connecticut until further order of this

 Court.

                            The continued DIP Motion hearing,
              the Consent to Dismissal, and the Withdrawal of the DIP Motion

           On May 3, 2022, the Debtor filed an amended proposed order regarding the DIP

Motion. The amended proposed order contained a chart indicating when and in what amount the

DIP funds would be spent. The amended proposed order provided that professional fees would

be paid on a weekly basis, including the fees of the Debtor’s counsel and counsel for the

Committee.




                                                10
Case 22-50073
      Case 1:23-cr-00118-AT
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                                                                     of 2311 of 19




       On May 4, 2022, the continued hearing on the DIP Motion was held. The Debtor and the

Committee argued that the DIP Motion should be granted and the amended proposed order

should enter. PAX and the UST reiterated their respective objections to the DIP Motion. The

Court then asked several questions about the asserted need to pay several million dollars of

professional fees through the end of May, 2022. At the conclusion of the hearing, the Court

stated that a ruling on the DIP Motion would issue which would determine the appropriate

amounts to be spent through the end of May, 2022.

       On May 11, 2022, one week after the conclusion of the DIP Motion hearing, the Debtor

filed a Notice of Consent to Dismissal of Case (the “Consent to Dismissal”). In the Consent to

Dismissal, the Debtor asserts that he consents to dismissal of his case due to the tremendous

costs imposed on him from unrelenting litigation by PAX and others, and his inability to access

funds to meet those costs. Also on May 11, 2022, while the DIP Motion was under advisement

and the Court was preparing to rule on the motion, the Debtor filed a Withdrawal of the DIP

Motion.

                The Evidentiary Hearing on the Motion to Dismiss or Joinder

       On May 24, 2022, the evidentiary hearing on PAX’s Motion to Dismiss or Joinder was

held. At the start of the hearing, all of the parties acknowledged that the Consent to Dismissal

changed the posture of the Debtor’s case. In addition, all of the parties agreed that cause exists

under section 1112(b) to dismiss or convert the Debtor’s case or to appoint a Chapter 11 trustee.

PAX and the Debtor argued that the Debtor’s case should be dismissed. The Committee and

certain creditors argued that conversion is most appropriate, but absent conversion, a Chapter 11

trustee should be appointed. The UST did not argue in favor of any one of the three alternatives,

but urged the Court to decide the matter as quickly as possible.



                                                 11
Case 22-50073
      Case 1:23-cr-00118-AT
               Doc 465 FiledDocument
                             06/15/22 146-5
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                                                   09/21/23
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                                                             Page 13Page
                                                                     of 2312 of 19




IV.    Analysis

       Section 1112(b) of the Bankruptcy Code provides:

       [O]n request of a party in interest, and after notice and a hearing, the court shall convert a
       case under this chapter to a case under chapter 7 or dismiss a case under this chapter,
       whichever is in the best interests of creditors and the estate, for cause unless the court
       determines that the appointment under section 1104(a) of a trustee or an examiner is in
       the best interests of creditors and the estate.

11 U.S.C. § 1112(b)(1); see also In re Sillerman, 605 B.R. 631, 657 (Bankr. S.D.N.Y. 2019); In

re TP, Inc., 455 B.R. 455, 457 (Bankr. E.D.N.C. 2011); In re Products Intern. Co., 395 B.R. 101,

107 (Bankr. D. Ariz. 2008).

       During the evidentiary hearing on the Motion to Dismiss or Joinder, all of the parties

stipulated that cause exists to dismiss the case, convert the case to Chapter 7, or to appoint a

Chapter 11 trustee. The Debtor asserts that cause exists to dismiss his case under section

1112(b)(4)(A) because there was a substantial or continuing loss to or diminution of the estate

and the absence of a reasonable likelihood of rehabilitation. PAX argues that cause exists to

dismiss the case under section 1112(b) for many reasons, including the Debtor’s alleged bad

faith in filing the case and the Debtor’s gross mismanagement of the estate. Because the parties

stipulated that cause exists under section 1112(b), the Court does not need to determine the

specific “cause.” The only issue the Court needs to decide is whether dismissal, conversion, or

appointment of a Chapter 11 trustee is in the best interests of creditors and the estate.

       Through a balancing test, a court must determine which of three alternatives—dismissal,

conversion, or the appointment of a Chapter 11 Trustee—is in the best interests of creditors and

the estate based on the record of the case. In re Products Intern. Co., 395 B.R. at 108. In

determining which option is in the best interests of creditors and the estate, a court should

evaluate, among other things, the prospects for collection and payment of the claims of creditors.



                                                 12
Case 22-50073
      Case 1:23-cr-00118-AT
               Doc 465 FiledDocument
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                                                         15:13:54
                                                             Page 14Page
                                                                     of 2313 of 19




In re Corona Care Convalescent Corp., 527 B.R. 379, 384 (Bankr. C.D. Cal. 2015). “When

considering appointing a trustee or converting the case to one under chapter 7, ‘the

distinguishing factor . . . is the expanded possibility in Chapter 11 for a trustee using independent

judgment and good management to direct the affairs of the estate[] including on-going operations

(if any) in order to optimize recovery for the creditors and the estate.’” In re NOA, LLC, 578

B.R. 534, 541 (Bankr. E.D. Va. 2017).

       The appointment of a Chapter 11 trustee in this case is warranted because the record

suggests a prospect for collection and payment of creditors’ claims. During this case, the Debtor

has demonstrated he can obtain millions of dollars in funds, including the $8,000,000.00 that was

the subject of the DIP Motion. The Debtor also proposed a Chapter 11 plan in the early stages of

this case which provided, among other things, the transfer of title to the Lady May to a creditor

trust for the benefit of all creditors. In addition, during the four months that the case has been

pending, divergent parties heavily negotiated a stipulation resolving the Automatic Stay Motion.

The Stipulated Order resulted in $37,000,000.00 being placed in escrow in exchange for the

delivery of the Lady May to the navigable waters of Connecticut, something the Debtor opposed

to the point of having contempt sanctions entered against him in the New York state court action.

Performance of the most significant obligation in the Stipulated Order—the delivery of the Lady

May to the navigable waters of Connecticut—is not yet due. However, there has been timely

compliance with other provisions of the Stipulated Order. HK has filed progress reports

indicating that repairs to the Lady May have been made and that the Lady May may arrive in the

navigable waters of Connecticut ahead of the July 15, 2022 Stipulated Order delivery date.

Dismissal of the Debtor’s case, or conversion of the Debtor’s case to Chapter 7, would erase the

substantial progress made with respect to the Lady May. A Chapter 11 trustee can serve as an



                                                 13
Case 22-50073
      Case 1:23-cr-00118-AT
               Doc 465 FiledDocument
                             06/15/22 146-5
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                                                             Page 15Page
                                                                     of 2314 of 19




independent party to ensure continued compliance with the Stipulated Order and can assist with

the development of a Chapter 11 plan with a reasonable likelihood of confirmation. The

appointment of a Chapter 11 trustee will also uphold the policy of enforcement of settlements,

avoid a race to the courthouse, and provide the opportunity for a pro rata distribution to creditors

consistent with the priority scheme in the Bankruptcy Code. See Corona Care, 527 B.R. at 387

(appointing a trustee to uphold the policy of enforcement of settlements and avoid a race to the

courthouse).

        In several pleadings, the Debtor has stated that he filed this case to create a single forum

to orderly address competing claims asserted against him and to afford stakeholders an efficient

opportunity to investigate his assets, liabilities, and financial affairs. Dismissal of the Debtor’s

case would defeat the Debtor’s stated reasons for filing this case. Similarly, conversion of this

case to Chapter 7 will not allow for the orderly liquidation of competing claims asserted against

the Debtor. The appointment of a Chapter 11 trustee is the most efficient and effective method

to address competing creditor claims asserted against the Debtor, including contingent and

unliquidated personal injury tort claims. The appointment of a Chapter 11 trustee will also allow

for the effective investigation of the Debtor’s assets, liabilities, and financial affairs.

Accordingly, when balancing whether to dismiss, convert, or appoint a Chapter 11 trustee, the

record supports the conclusion that the appointment of a Chapter 11 trustee in this case is in the

best interests of creditors and the estate.

        When faced with a similar choice under section 1112(b), bankruptcy courts have

appointed a Chapter 11 trustee as opposed to dismissing or converting the case. For example, the

Sillerman case concerned an individual debtor who was a serial entrepreneur. The debtor listed

his interests in forty-seven limited liability companies in his schedules, had sold multiple



                                                   14
Case 22-50073
      Case 1:23-cr-00118-AT
               Doc 465 FiledDocument
                             06/15/22 146-5
                                       Entered
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                                                06/15/22
                                                   09/21/23
                                                         15:13:54
                                                             Page 16Page
                                                                     of 2315 of 19




businesses for billions of dollars, and proposed a Chapter 11 plan that would be funded once the

debtor was able to secure financing to invest in certain affiliated entities. Sillerman, 605 B.R. at

636. The Sillerman creditors first filed a motion for appointment of an examiner because they

asserted that the “lack of independent managerial oversight” allowed the debtor to avoid

disclosing the true nature and value of his assets and that the debtor’s “use of multilayered

transactions involving complicated corporate structures” made his assets difficult to find. Id. at

636-37. The Official Committee of Unsecured Creditors appointed later in the case instead

moved for the appointment of a Chapter 11 trustee or, in the alternative, an order converting the

case to a Chapter 7 case. Given the totality of the circumstances in the debtor’s case, the

Sillerman court held that the appointment of a Chapter 11 trustee, instead of conversion of the

case, was in the best interests of creditors and the estate. Id. at 657.

       Like the creditors in Sillerman, PAX, the Committee, and other creditors have argued that

the Debtor and his family have interests in numerous limited liability companies that may

obfuscate the true nature and value of the Debtor’s assets. They also argue that the Debtor has

engaged in multilayer transactions involving complicated corporate structures like Golden

Spring, Genever Holdings, Lamp Funding, and HK that make it difficult to identify and locate

the Debtor’s assets. PAX cites to the findings of the New York Supreme Court that the Debtor

had “secreted his assets in a maze of corporate entities and with family members” and that the

thousands of docket entries “involve defendant Kwok’s efforts to avoid and deceive his creditors

by parking his substantial personal assets with a series of corporations, trusted confidants, and

family members.” ECF No. 183 at p. 7-8. When balanced against dismissal or conversion, the

complexity of the Debtor’s financial affairs and lack of independent managerial oversight in this




                                                  15
Case 22-50073
      Case 1:23-cr-00118-AT
               Doc 465 FiledDocument
                             06/15/22 146-5
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                                                   09/21/23
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                                                                     of 2316 of 19




case warrants the appointment of a Chapter 11 trustee who can investigate, identify, and locate

the Debtor’s assets for the benefit of creditors and the estate.

       Bankruptcy courts have also appointed a Chapter 11 trustee rather than dismiss or convert

a case in situations where a debtor has violated a stipulated order. In NOA, the debtor willfully

violated a stipulated order between the debtor and creditors specifically restraining the debtor

from shipping bulk clothing out of the United States until full payment for the goods was

received. 578 B.R. at 537-40. The court appointed a Chapter 11 trustee because of the

“expanded possibility in Chapter 11 for a trustee using independent judgment and good

management to direct the affairs of the estate[] including on-going operations (if any) in order to

optimize recovery for the creditors and the estate.” Id. at 541. As was true in NOA, the parties in

this case negotiated the Stipulated Order. As noted above, performance of the delivery of the

Lady May to the navigable waters of Connecticut is not yet due. The appointment of a Chapter

11 trustee will enable that trustee to use independent judgment to ensure compliance with the

Stipulated Order and to optimize recovery of assets for the creditors and the estate.

       Corona Care is another case in which a bankruptcy court exercised its discretion to

appoint a Chapter 11 trustee instead of dismissing or converting a case where a debtor defaulted

under the terms of a stipulation. Corona Care, 527 B.R. at 387. In Corona Care, the debtors

entered into a stipulation with the Official Committee of Unsecured Creditors and other parties-

in-interest dismissing some of the jointly administered cases of the more profitable nursing

facilities to allow the remaining debtors more time to confirm a plan of reorganization. 527 B.R.

at 380. The debtors then defaulted under the terms of the stipulated agreement. Id. at 385. In

evaluating the prospects for collection and payment of the claims to creditors, the Corona Care

court found that a sale of the debtors’ businesses offered some prospect of payment of creditors



                                                  16
Case 22-50073
      Case 1:23-cr-00118-AT
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                             06/15/22 146-5
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                                                06/15/22
                                                   09/21/23
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                                                                     of 2317 of 19




because the assets would be monetized for the payment of their claims, which reflected the

bargain reached in the stipulation. Id. at 384-85. Likewise, delivery of the Lady May to the

navigable waters of Connecticut will result in the prospect of collection and payment of creditor

claims which may include the pledge of the Lady May to a Chapter 11 plan and/or a finding that

the Lady May is property of the Debtor’s estate.

       TP, Inc. is another bankruptcy case in which a Chapter 11 trustee was appointed as

opposed to dismissing or converting the debtor’s case. 455 B.R. at 459. In TP, Inc., Bank of

America had commenced a foreclosure proceeding in state court against TP, Inc., its principal,

and its principal’s wife, and had obtained a judgment against the principal and principal’s wife,

who were guarantors of the promissory note. Id. at 456. The debtor’s principal leased Bank of

America’s collateral during the pendency of the case without court approval and collected rents

attributable to that collateral. Id. The TP, Inc. court held that the debtor’s misuse of numerous

parcels of real property that served as Bank of America’s collateral, and the misuse of the cash

collateral rents derived from that collateral, warranted the appointment of a Chapter 11 trustee.

Id. at 459. The court pointed to its concerns about future instances of fraud, incompetence,

dishonesty, or gross mismanagement in deciding that the appointment of a Chapter 11 trustee

was in the best interests of creditors and the estate, as opposed to dismissal or conversion,

because a trustee could use independent judgment and good management to direct the affairs of

the estate. Id. In this case, a state court similarly entered a judgment against the Debtor based

on a default on a promissory note and a contempt order for contravention of a state court order

restraining the Debtor, among others, from removing the Lady May from the navigable waters of

New York. Like the decision in TP, Inc., the appointment of a Chapter 11 trustee in this case

will address concerns about any future misconduct by the Debtor while bringing independent



                                                 17
Case 22-50073
      Case 1:23-cr-00118-AT
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                             06/15/22 146-5
                                       Entered
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                                                06/15/22
                                                   09/21/23
                                                         15:13:54
                                                             Page 19Page
                                                                     of 2318 of 19




judgment and good management to direct the affairs of the estate and optimize recovery for all

creditors.

V.      CONCLUSION

        Because the parties stipulate that cause exists under section 1112(b) to dismiss this case,

convert this case to a case under Chapter 7, or appoint a Chapter 11 trustee, the Court has

evaluated, among other things, the prospects for collection and payment of the claims of all

creditors. The Court finds that the appointment of a Chapter 11 trustee is in the best interests of

creditors and the estate because a Chapter 11 trustee can: (i) use independent judgment and good

management to direct the affairs of the estate to attempt to satisfy the claims of creditors; (ii)

determine whether a reasonable likelihood of rehabilitation exists for this Debtor, including

whether a Plan of Reorganization can be proposed and confirmed; and (iii) optimize recovery for

the creditors and the estate by, among other things, allowing the Chapter 11 trustee to investigate

the Debtor’s assets, liabilities, and financial affairs and to ensure compliance with the provisions

of the Stipulated Order.

        Accordingly, it is hereby:

        ORDERED: Pursuant to 11 U.S.C. §§ 1112(b), the Motion to Dismiss or Joinder is

DENIED WITHOUT PREJUDICE to the extent it seeks to dismiss the Debtor’s case at this time

and is GRANTED to the extent that a Chapter 11 trustee shall be appointed in the Debtor’s case;

and it is further

        ORDERED: The Chapter 11 trustee shall perform all of the duties set forth in 11 U.S.C.

§ 1106; and it is further

        ORDERED: Within fourteen (14) days of the appointment of a Chapter 11 trustee, a

Status Conference will be scheduled to discuss, among other things, the progress of the Chapter



                                                  18
Case 22-50073
      Case 1:23-cr-00118-AT
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                                                             Page 20Page
                                                                     of 2319 of 19




11 trustee regarding the statements to be filed in accordance with 11 U.S.C. §§ 1106(a)(4) and

(a)(5), compliance with the Stipulated Order, the Chapter 11 trustee’s proposed management of

the estate, and the continued administration of the Debtor’s case.


                Dated at Bridgeport, Connecticut this 15th day of June, 2022.




                                                19
      Case 22-50073
            Case 1:23-cr-00118-AT
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20          Pacific Alliance Asia Opportunity Fund L.P.
cr          Zheng Wu
20          Rui Ma
20          Weican Meng
intp        Golden Spring (New York) LTD
crcm        Official Committee of Unsecured Creditors
intp        HK International Funds Investments (USA) Limited, LLC
intp        Mei Guo
cr          Baosheng Guo
cr          Yan Zhao
cr          Ning Ye
9343402     22−50073
                                                                                                                   TOTAL: 12

Recipients of Notice of Electronic Filing:
ust         U. S. Trustee        USTPRegion02.NH.ECF@USDOJ.GOV
aty         Aaron Romney            aromney@zeislaw.com
aty         Annecca H. Smith            asmith@rc.com
aty         Bennett Silverberg          bsilverberg@brownrudnick.com
aty         Carollynn H.G. Callari           ccallari@callaripartners.com
aty         David S. Forsh         dforsh@callaripartners.com
aty         David V. Harbach, II           dharbach@omm.com
aty         Dylan Kletter         dkletter@brownrudnick.com
aty         Holley L. Claiborn           holley.l.claiborn@usdoj.gov
aty         Irve J. Goldman          igoldman@pullcom.com
aty         Jay Marshall Wolman             jmw@randazza.com
aty         Jeffrey L Jonas        jjonas@brownrudnick.com
aty         John L. Cesaroni          jcesaroni@zeislaw.com
aty         Jonathan Kaplan           jkaplan@pullcom.com
aty         Kenneth Aulet          kaulet@brownrudnick.com
aty         Kristin B. Mayhew            kmayhew@mdmc−law.com
aty         Laura Aronsson           laronsson@omm.com
aty         Mia N. Gonzalez            mgonzalez@omm.com
aty         Patrick M. Birney          pbirney@rc.com
aty         Peter Friedman          pfriedman@omm.com
aty         Peter J. Zarella       pzarella@mdmc−law.com
aty         Sara Pahlavan         spahlavan@omm.com
aty         Scott D. Rosen         srosen@cb−shea.com
aty         Stephen M. Kindseth            skindseth@zeislaw.com
aty         Stuart M. Sarnoff          ssarnoff@omm.com
aty         Timothy D. Miltenberger            Tmiltenberger@cbshealaw.com
aty         William Baldiga           wbaldiga@brownrudnick.com
aty         William R. Baldiga           wbaldiga@brownrudnick.com
                                                                                                                   TOTAL: 28

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Ho Wan Kwok          373 Taconic Road         Greenwich, CT 06831
cr          Logan Cheng        c/o Randazza Legal Group, PLLC           100 Pearl Street      14th Floor        Hartford, CT
            06103
ca          Stretto      410 Exchange, Suite 100        Irvine, CA 92602
dbaty       Brown Rudnick LLP          One Financial Center        Boston, MA 02111
crcm        Pullman & Comley, LLC          850 Main Street        Bridgeport, CT 06601
20          Huizhen Wang         c/o TroyGould PC         1801 Century Park East, 16th Floor        Attn: Christopher A.
            Lilly       Los Angeles, CA 90067−2367
cr          Chao−Chih Chiu         c/o TroyGould PC         1801 Century Park East, 16th Floor        Attn: Christopher A.
            Lilly       Los Angeles, CA 90067−2367
cr          Yunxia Wu        c/o TroyGould PC          1801 Century Park East, 16th Floor       Attn: Christopher A.
            Lilly       Los Angeles, CA 90067
cr          Keyi Zilkie      c/o TroyGould PC          1801 Century Park East, 16th Floor       Attn: Christopher A.
            Lilly       Los Angeles, CA 90067
aty         Andrew M. Carty         Brown Rudnick LLP           Seven Times Square        New York, NY 10036
aty         Steven E. Mackey        Office of the U.S. Trustee       The Giaimo Federal Building        150 Court Street, Room
            302       New Haven, CT 06510
9343455     Bi Hai Ge Lin       C/O Kevin Tung, Esq.         38th Avenue, Suite 3d        Flushing, NY 11354 USA
9343450     Chao−Chih Chiu         c/o TroyGould PC         1801 Century Park East, 16th Floor        Attn: Christopher A.
            Lilly       Los Angeles, CA 90067
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9343406   Cheng Jian Wu Jian She          c/o Kevin Kerveng Tung, P.C.           136−20 38th Avenue, Suite 3D &
          3F       Flushing, NY 11354 USA             Attn: Kevin Tung, Esq.
9343431   Chenglong Wang            C/O HGT Law          250 Park Avenue, 7th Floor           New York, NY 10177
          USA         Attn: Hung Ta
9343452   Chong Sheen Raphanella            C/O Wolf Haldenstein Adler Freeman & Her             270 Madison Avenue            New
          York, NY 10016 USA             Attn: Matthew Guiney
9343457   Fu Le Hong Ma           C/O Kevin Tung, Esq.          38th Avenue, Suite 3d          Flushing, NY 11354 USA
9343408   Gaosheng Guo           c/o Law Office of Ning Ye, Esq.          135−11 38th Avenue, Suite 1A           Flushing, NY
          11354 USA          Attn: Ning Ye, Esq.
9343404   Golden Spring New York            162 E. 64th Street        New York, NY 10605 USA              Attn: Max Krasner
9343410   Hong Qi Qu          c/o Kevin Tung, P.C.         136−20 38th Avenue, Suite 3D & 3F             Flushing, NY 11354
          USA         Attn: Kevin Tung, Esq.
9343449   Huizen Wang          c/o TroyGould PC          1801 Century Park East, 16th Floor           Attn: Christopher A.
          Lilly       Los Angeles, CA 90067−2367
9343421   Jia Li Wang         C/O Thompson Hine           335 Madison Avenue, 12th Floor             New York, NY 10017
          USA         Attn: Brian P. Lanciault, Esq.
9343435   Jiamei Lu        C/O Thompson Hine            335 Madison Avenue, 12th Floor            New York, NY 10017
          USA         Attn: Brian P. Lanciault, Esq.
9343412   Jian Gong         C/O Kevin Kerveng Tung, P.C.            136−20 38th Avenue, Suite 3D           Flushing, NY 11354
          USA         Attn: Kevin Tung, Esq.
9343434   Jianhu Yi and Qiuju Jia         C/O Arthur Angel, Esq.         1305 n. Poinsettia Place         Los Angeles, CA 90046
          USA
9343424   Jonathan Young          141 Allenby Road          Wellington Point, QLD 4160            AUSTRALIA
9343419   Jun Chen aka Jonathan Ho           C/O Wayne Wei Zhu, Esq.           4125 Kissena Blvd, Suite 112           Flushing, NY
          11355 USA          Attn: Wayne Wei Zhu
9343436   Jun Liu        C/O Thompson Hine            335 Madison Avenue, 12th Floor            New York, NY 10017
          USA         Attn: Brian P. Lanciault, Esq.
9343430   Kaixin Hong          C/O HGT Law           250 Park Avenue, 7th Floor          New York, NY 10177 USA              Attn:
          Hung Ta
9343447   Keyi Zilkie        c/o TroyGould PC          1801 Century Park East, 16th Floor           Attn: Christopher A.
          Lilly       Los Angeles, CA 90067
9343418   Lamp Capital, LLC           Attn: Bernardo Enriquez          667 Madison Avenue           New York, NY 10065
9343415   Liehong Zhuang/Xiao Yan Zhu             C/O Trexler & Zhang, LLP           224 West 35th Street, 12th Floor         New
          York, NY 10001 USA             Attn: Jonathan T. Trexler, Esq.
9343437   Linda Cheng          C/O Thompson Hine           335 Madison Avenue, 12th Floor            New York, NY 10017
          USA         Attn: Brian P. Lanciault, Esq.
9343425   Logan Cheng          c/o Randazza Legal Group, PLLC             100 Pearl Street, 14th Fl       Hartford, CT 06103
9343438   Mao−Fu Weng            C/O Thompson Hine            335 Madison Avenue, 12th Floor            New York, NY 10017
          USA         Attn: Brian P. Lanciault, Esq.
9343411   Nan Tong Si Jian          C/O Kevin Kerveng Tung, P.C.           136−20 38th Avenue, Suite 3D & 3F            Flushing,
          NY 11354 USA            Attn: Kevin Tung, Esq.
9343407   Ning Ye         c/o Law Office of Ning Ye, Esq.          135−11 38th Avenue, Suite 1A            Flushing, NY
          11354        Attn: Ning Ye, Esq.
9343451   Rong Zhang          C/O Wolf Haldenstein Adler Freeman & Her              270 Madison Avenue           New York, NY
          10016 USA          Attn: Matthew Guiney
9343439   RuQin Wang           C/O Thompson Hine            335 Madison Avenue, 12th Floor            New York, NY 10017
          USA         Attn: Brian P. Lanciault, Esq.
9358088   Rui Ma         Carollynn HG Callari, Esq/Callari Partne          100 Somerset Corporate Blvd., Suite
          206        Bridgewater, NJ 08807
9343426   SHI        C/O Thompson Hine            20 N. Clark St., Ste 3200        Chicago, IL 60602 USA            Attn: Steven A.
          Block, Esq.
9348491   Samuel Dan Nunberg            600 South Dixie Highway, Suite 455           West Palm Beach, FL 33401
9343417   Samuel Nunberg           C/O Nesenoff & Miltenberg, LLP            363 Seventh Ave, 5th Floor          New York, NY
          10001 USA          Attn: Andrew T. Miltenberg, Esq.
9343440   Teli Chen        C/O Thompson Hine            335 Madison Avenue, 12th Floor            New York, NY 10017
          USA         Attn: Brian P. Lanciault, Esq.
9343422   WA&HF, LLC/Ruizeng An                C/O AFN Law           41 Madison Avenue, 31st Floor           New York, NY 10010
          USA         Attn: Angus Ni, Esq.
9343427   WANG           C/O Carmody Torrance Sandak & Hennessey               195 Church Street, P.O. Box 1950           New
          Haven, CT 6509 USA            Attn: David Grudberg
9358089   Weican "Watson" Meng and Boxun Inc.              Carollynn HG Callari, Esq/Callari Partne          100 Somerset Corporate
          Blvd., Suite 206        Bridgewater, NJ 08807
9343441   Weiguo Sun          C/O Thompson Hine            335 Madison Avenue, 12th Floor            New York, NY 10017
          USA         Attn: Brian P. Lanciault, Esq.
9343442   Weixiand Ge          C/O Thompson Hine            335 Madison Avenue, 12th Floor            New York, NY 10017
          USA         Attn: Brian P. Lanciault, Esq.
9343429   Wen Lin         C/O HGT Law            250 Park Avenue, 7th Floor          New York, NY 10177 USA              Attn: Hung
          Ta
9343433   Xiaobo He         C/O HGT Law            250 Park Avenue, 7th Floor          New York, NY 10177 USA              Attn:
          Hung Ta
9343453   Xiaodan Wang           C/O Wolf Haldenstein Adler Freeman & Her             270 Madison Avenue            New York, NY
          10016 USA          Attn: Matthew Guiney
9343432   Xiaoping Luo          C/O HGT Law           250 Park Avenue, 7th Floor          New York, NY 10177 USA              Attn:
          Hung Ta
9343443   Xingyu Yan          C/O Thompson Hine           335 Madison Avenue, 12th Floor             New York, NY 10017
          USA         Attn: Brian P. Lanciault, Esq.
9343454   Xiong Xian Wei Ye           C/O Kevin Tung, Esq.           136−20 38th Avenue, Suite 3D & 3F            Flushing, NY
          11354 USA          Attn: Kevin Tung, Esq
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          7006        Bridgeport, CT 06601
9343423   Xiqiu Fu        c/o The Lanier Law Firm          10940 W. Sam Houston Pkwy N., Suite 100           Houston, TX 77064
          USA         Attn: Lawrence P. Wilson
9343444   Yan Gao         C/O Thompson Hine           335 Madison Avenue, 12th Floor          New York, NY 10017
          USA         Attn: Brian P. Lanciault, Esq.
9343413   Yan Zhao         C/O Law Office of Ning Ye, Esq.          135−11 38th Avenue, Suite 1A        Flushing, NY 11354
          USA         Attn: Ning Ye, Esq.
9343409   Yang Lan and Wu Zheng             900 Third Avenue, 18th Floor       c/o Arkin Solbakken, LLP         New York, NY
          10022         Attn: Robert C. Angelillo
9343445   Yi Li        C/O Thompson Hine           335 Madison Avenue, 12th Floor         New York, NY 10017
          USA         Attn: Brian P. Lanciault, Esq.
9343446   Ying Liu         C/O Thompson Hine           335 Madison Avenue, 12th Floor         New York, NY 10017
          USA         Attn: Brian P. Lanciault, Esq.
9343414   Yua Hua Zhuang Shi           C/O Kevin Kerveng Tung, P.C.          136−20 38th Avenue, Suite 3D & 3F         Flushing,
          NY 11354 USA           Attn: Kevin Tung, Esq.
9344053   Yue Hua Zhu Shi          136−20 38th Avenue, Suite 3D          c/o Kevin Kerveng Tung, P.C.        Flushing, NY
          11354         Attn: Kevin Tung, Esq.
9343456   Zhen Yuan Jian Zhu          C/O Kevin Tung, Esq.         38th Avenue, Suite 3d       Flushing, NY 11354 USA
9358087   Zheng ("Bruno") Wu and Yang Lan             Carollynn HG Callari, Esq/Callari Partne      100 Somerset Corporate
          Blvd., Suite 206       Bridgewater, NJ 08807
9343428   Zhengjun Dong          C/O HGT Law            250 Park Avenue, 7th Floor       New York, NY 10177 USA           Attn:
          Hung Ta
9343448   yunxia Wu         c/o TroyGould PC          1801 Century Park East, 16th Floor       Attn: Christopher A.
          Lilly       Los Angeles, CA 90067
                                                                                                                   TOTAL: 68
